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            Case 2:18-cv-10501-DML-RSW ECF No. 1-1 filed 02/12/18                                      PageID.9   Page 1 of 1


                                                CONSENT TO JOIN FORM

                1.          I Consent to be a party plaintiff in a lawsuit against Defendants Silverstar Delivery,
           Ltd. (“Silverstar”) and Amazon.com LLC (“Amazon”) and/or related entities in order to seek
           redress for violations of the Fair Labor Standards Act, pursuant to 29 U.S.C. § 216(b).

                2.          I hereby designate DiCello Levitt & Casey LLC and other attorneys with whom
           they associate to make decisions on my behalf concerning the litigation. I agree to be bound by any
           adjudication of this action by the Court, or by any settlement, whether it is favorable or unfavorable.

                3.          During the past three years there were occasions when I worked over 40 hours per
           week for Silverstar and/or Amazon and did not receive proper compensation for all my hours
           worked, including overtime pay and/or minimum wages. I also consent to join any other related
           action against Silverstar and/or Amazon or other potentially responsible parties to assert my claim
           and for this consent form to be filed in such action.

                    2/5/2018
           Date: ______________________                            Signature: ___________________________
                                                                                     Aaron Smith
                                                                   Print Name: __________________________


                                          No information included below will be filed with the Court


                           PLEASE PRINT OR TYPE THE FOLLOWING INFORMATION

           Name: _____________________________________________________________________
               (first)                 (middle)                (last)

           Street Address: ______________________________________________________________

           City, State, Zip: _____________________________________________________________

           Home: __________________ Work: ____________________ Cell: ____________________

           Email: ____________________________________

           Social Security Number: _____________________ Date of Birth: ______________________




           Fax or Mail to:
                  DiCello Levitt & Casey (Attn. Laura E. Reasons)
                  7556 Mentor Avenue
                  Mentor, OH 44060
                  Fax: (440) 953-9138
                  Email: lreasons@dlcfirm.com
                  Telephone: (440) 953-8888
